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                           UNITED STATES DISTRICT COURT
                                     FOR THE
                                DISTRICT OF MAINE


 ACA CONNECTS – AMERICA’S
 COMMUNICATIONS ASSOCIATION, et al.,

        Plaintiffs,
                                                     CIVIL ACTION NO.: 1:20-cv-00055-LEW
                v.

 AARON M. FREY, in his Official Capacity as
 the Attorney General of the State of Maine,

        Defendant.


                       DEFENDANT’S PARTIAL CROSS-MOTION
                        FOR JUDGMENT ON THE PLEADINGS

       Defendant Aaron M. Frey, under Rule 12(c) of the Federal Rules of Civil Procedure, cross

moves for partial judgment on the pleadings. Specifically, Defendant moves for judgment on

Plaintiffs’ Third, Fourth, and Fifth Claims because Maine’s Privacy Law is not preempted by

federal law.

       A motion for judgment on the pleadings is evaluated under substantially the same standard

as that which governs a motion to dismiss. Specifically, the Court should grant the motion “if the

uncontested and properly considered facts conclusively establish the movant’s entitlement to a

favorable judgment.” Aponte-Torres v. Univ. of P.R., 445 F.3d 50, 54-55 (1st Cir. 2006).

       Defendant incorporates by reference the arguments set forth in his Opposition to Plaintiffs’

Motion for Judgment on the Pleadings (see ECF No. 28). Those arguments demonstrate not only

why judgment should not be granted to Plaintiffs on their preemption claims, but also why

judgment should be granted to Defendant on those same claims.
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       Defendant accordingly respectfully requests that the Court enter judgment for Defendant

on Plaintiffs’ Third, Fourth, and Fifth Claims.



DATED: May 27, 2020                                   Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this, the 27th day of May, 2020, I electronically filed the above

document with the Clerk of Court using the CM/ECF system, which will send notification of

such filing to each of the following:

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